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CERTIFICATE OF DEATH

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VITAL STATISTICS

FLORIDA

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Vandalia.

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4. WAS DECEDENT OF HISPANIC OR HAITIAN ORIGIN?
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15. RACE — American indian,
Black, White-elc. \

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6: DECEDENT' § EDECATION a
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Mexican. Puetto. Rican; Bic.) No. Yes Specify: Elementaty/Secondary) College (Ears ye
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FORMANT: SINAME (Type: Pring

Esther Buckmaster 1129:

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45377

East National Road, Vandalia, Ohio

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SAS: “ASCERTIFIED TRUE AND 2004 | COPY OF THE OFFICIAL RECORD ON FILE IN| THIS: OFFIC!

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THIS: DOCUMENT. {SPRINTED OR PHOTOCOPIED ON SECURITY PAPER WITH. A WATERMARK OF THE GREAT.
SEAL OF THE STATE OF FLORIDA. DO. NOT, ACCEPT WITHOUT. VERIFYING THE PRESENCE OF THE WATERMARK:

THE DOCUMENT, FACE CONTAINS A MULTI-COLORED/BACKGROUND AND GOLD EMBOSSED SEAL. THE‘BAGK
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State Registrar,

DOH FORM 1947 (19/03)

